                             UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                COLUMBIA DIVISION

 CLANT M. SEAY,                                  )
                                                 )
        Plaintiff,                               )
                                                 )
 v.                                              )   NO. 1:16-cv-00068
                                                 )   CHIEF JUDGE CRENSHAW
 BUCKY ROWLAND, et al.,                          )
                                                 )
        Defendants.                              )


                                            ORDER

       Defendant Jerry W. Harris’ Motion to Continue and Reschedule Pretrial Conference (Doc.

No. 164), which is unopposed, is GRANTED.

       The pretrial conference scheduled for October 26, 2018 is RESCHEDULED for October

22, 2018, at 4:00 p.m. in Courtroom A-859, United States Courthouse, 801 Broadway, Nashville,

TN. All other pretrial deadlines remain as set out in the Trial Order (Doc. No. 150.)

       IT IS SO ORDERED.



                                             ____________________________________
                                             WAVERLY D. CRENSHAW, JR.
                                             CHIEF UNITED STATES DISTRICT JUDGE




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